          Case
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   ADAM FLAKE
     Assistant United States Attorney
     333 Las Vegas Boulevard South, Suite 5000
 3   Las Vegas, Nevada 89101
     702-388-6336
 4
                                 UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
                                             -oOo-
 6
     UNITED STATES OF AMERICA,                       ) Case No.: 2:09-CR-262-JCM-GWF
 7                                                   )
                    Plaintiff,                       ) Stipulation to Reset Evidentiary Hearing.
 8                                                   )
                                                     )
            vs.                                      )
 9                                                   )
     ADRIAN FUENTES-GARCIA,                          )
10                                                   )
                    Defendant.                       )
11                                                   )

12
            The United States of America by and through its attorneys, DANIEL G. BOGDEN,
13
     United States Attorney, and ADAM FLAKE, Assistant United States Attorney, and Defendant
14
     Adrian Fuentes-Garcia, by and through his attorney TODD M. LEVENTHAL, here by stipulate
15
     that the Court enter an order rescheduling the evidentiary hearing currently set for May 14,
16
     2015, at 10:30 a.m., to June 2, 2015, at 10:30 a.m.
17
            This order is sought for the following reasons:
18
     1.     Defendant has filed a 28 U.S.C. § 2255 motion to vacate, set aside or correct sentence.
19
     CR 250.
20
     2.     This Court has ordered an evidentiary hearing on the motion. CR 356.
21
     3.     The parties have scheduling conflicts on May 14, 2015. The parties and Michael
22
     Pandullo, whom the government intends to call as a witness, are available on June 2, 2015 at
23
     10:30 a.m.
24
        Case
         Case2:09-cr-00262-JCM-GWF
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 1                                             CONCLUSION

 2          WHEREFORE, based on the foregoing, the parties stipulate to have the evidentiary

 3   hearing reset to June 2, 2015 at 10:30.      .

 4          Dated this 1st day of May, 2015.

 5

 6                                                           /s/
     DANIEL G. BOGDEN                                  TODD M. LEVENTHAL
 7   United States Attorney                            Counsel for Def. Adrian Fuentes Garcia

 8          /s/
     ADAM FLAKE
 9   Assistant United States Attorney

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 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2                                            -oOo-

 3   UNITED STATES OF AMERICA,                          ) Case No.: 2:09-CR-262-JCM-GWF
                                                        )
 4                   Plaintiff,                         ) Order Resetting Evidentiary Hearing.
                                                        )
                                                        )
 5          vs.                                         )
                                                        )
 6   ADRIAN FUENTES-GARCIA,                             )
                                                        )
 7                   Defendant.                         )
                                                        )
 8
     Based on the stipulation of the parties, and good cause appearing,
 9
            IT IS THEREFORE ORDERED the evidentiary hearing previously set for May 14,
10
     2015 is reset to June 2, 2015, at 10:30 a.m.
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12
            May_____
     DATED this 5, 2015.
                     day of May, 2015.
13

14                                                        __________________________________
                                                            UNITED STATES DISTRICT JUDGE
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        Case
         Case2:09-cr-00262-JCM-GWF
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 1                                  CERTIFICATE OF SERVICE

 2

 3   UNITED STATES OF AMERICA,                   )
                                                 )
 4          Plaintiff,                           )      Case No.: 2:09-CR-262-JCM-GWF
                                                 )
 5    vs.                                        )
                                                 )
 6   ADRIAN FUENTES-GARCIA,                      )
                                                 )
 7          Defendant.                           )

 8                                   CERTIFICATE OF SERVICE

 9
            I, Ellenrose Jarmolowich, do hereby certify that on May 1, 2015, a copy of the attached
10
     Stipulation to Reset Evidentiary Hearing was sent via CM/ECF to all parties.
11

12
                                                                /S/
13                                                              ELLENROSE JARMOLOWICH
                                                                Legal Assistant
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